Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9564 Filed 03/01/23 Page 1 of 28
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     1                   IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
     2
       DWAYNE B., a minor by his Next   )
     3 Friend, John Stempfle, et al, for) Detroit, Michigan
       themselves and others similarly )
     4 situated,                        )
                                        )
     5     Plaintiff,                   ) January 24, 2023
           vs.                          ) 11:07 a.m.
     6                                  )
       GRETCHEN WHITMER, in her official)
     7 capacity as governor of the state) Case No. 06-3548
       of Michigan, et al.,             )
     8                                  )
           Defendant.                   )
     9 _________________________________)

    10
                                 TRANSCRIPT OF HEARING
    11                  BEFORE THE HONORABLE NANCY G. EDMUNDS
                             UNITED STATES DISTRICT JUDGE
    12

    13 APPEARANCES:

    14 For the Plaintiff:       SAMANTHA BARTOSZ
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    16

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    19

    20

    21 Court Reporter:           Carol M. Harrison, RMR, FCRR
                                1000 Washington Avenue
    22                           Bay City, MI 48708

    23

    24              Proceedings reported by stenotype reporter.
               Transcript produced by Computer-Aided Transcription.
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                  D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9565 Filed 03/01/23 Page 2 of 28
                                                                                        2


             1                         P R O C E E D I N G S

11:05:43AM   2            (At 11:07 a.m., proceedings began.)

11:07:41AM   3            THE CLERK:     06-13548, D.B. versus Granholm.

11:07:47AM   4            Counsel, please state their name for the record.

11:07:51AM   5            MS. BARTOSZ:     Good morning, Your Honor, Samantha

11:07:52AM   6 Bartosz from Children's Rights on behalf of the plaintiff.

11:07:59AM   7            MS. DRYSDALE-CROWN:      Good morning, Your Honor.       This

11:08:00AM   8 is Assistant Attorney General Cassandra Drysdale-Crown.            I

11:08:05AM   9 apologize for not being able to turn on my video.           I'm having a

11:08:09AM 10 little glitch here on my end.

11:08:10AM 11             I am here on the behalf of State defendants.          I have

11:08:13AM 12 with me Director Elizabeth Hertel, as well as Director

11:08:19AM 13 Demetrius Starling and Director Kelly Sesti on behalf of State

11:08:24AM 14 defendants.

11:08:25AM 15             THE COURT:     And I see that Director Hertel is here as

11:08:29AM 16 well.

11:08:40AM 17             (Off-the-record discussion.)

11:10:10AM 18             THE COURT:     Okay.   And I see Director Starling is

11:10:12AM 19 here as well.     I don't know if you were introduced just a

11:10:15AM 20 moment ago or not.

11:10:18AM 21             MS. DRYSDALE-CROWN:      Sure, Your Honor.     Thank you.

11:10:21AM 22 If you would like us to start with State defendants, we'd be

11:10:24AM 23 more than honored to start.

11:10:26AM 24             Good morning.     As I --

11:10:27AM 25             THE COURT:     Well, sorry.    I would like to hear from


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9566 Filed 03/01/23 Page 3 of 28
                                                                                        3


11:10:30AM   1 the minors before I hear from the parties.

11:10:33AM   2            MS. DRYSDALE-CROWN:      Thank you.

11:10:36AM   3            THE COURT:    Mr. Ryan and Ms. Crummy.

11:10:42AM   4            MR. RYAN:    Good morning, Your Honor.       This is Kevin

11:10:43AM   5 Ryan.   Today we're submitting the 18th report to the Court in

11:10:45AM   6 the matter of Dwayne B. versus Whitmer covering period 21,

11:10:50AM   7 which is July 1st, 2021 to December 31, 2021 under the Modified

11:10:57AM   8 Implementation Sustainability and Exit Plan called the MISEP.

11:11:03AM   9            Michigan DHHS met or exceeded the required

11:11:05AM 10 performance standards in 13 areas monitored for compliance in

11:11:09AM 11 MISEP period 21.      In all of these 13 areas, the State also

11:11:14AM 12 exceeded or came very close to the performance standard in

11:11:17AM 13 previous periods as well.

11:11:20AM 14             Among areas where the agencies continue to achieve

11:11:23AM 15 high levels of performance are caseloads.          DHHS exceeded the

11:11:28AM 16 caseload standards established for Child Protective Services

11:11:31AM 17 workers, purchase of service workers, and licensing workers.

11:11:36AM 18             Also worker-child visits, ensuring that children

11:11:39AM 19 receive at least one visit per month in their placement

11:11:41AM 20 location, promptly completing investigations of child abuse and

11:11:46AM 21 neglect and ensuring children's health records are up to date

11:11:51AM 22 and include children's -- are included in children's digital

11:11:54AM 23 case records.

11:11:55AM 24             The MISEP allows that once DHHS has satisfied the

11:11:59AM 25 designated performance standard for certain commitments at the



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9567 Filed 03/01/23 Page 4 of 28
                                                                                        4


11:12:03AM   1 end of one reporting period, as validated by the monitors, the

11:12:06AM   2 commitment is eligible to be moved to the Section 5 of the

11:12:10AM   3 MISEP, just called "To Be Maintained", and three commitments

11:12:14AM   4 meet this criteria at the conclusion of MISEP period 21:

11:12:18AM   5 Worker-Child Visits, one visit per month in the placement

11:12:22AM   6 location, which is Section 6.21.b; Child Case File, Medical and

11:12:29AM   7 Psychological, one, which is Section 6.30; and Child Case File,

11:12:35AM   8 Medical and Psychological, two, which is Section 6.30.

11:12:41AM   9            The MISEP also allows that for certain commitments,

11:12:44AM 10 once DHHS has maintained performance at the designated

11:12:49AM 11 performance standard for two consecutive reporting periods, the

11:12:52AM 12 commitment will be moved to Section 4 of the MISEP, known as

11:12:55AM 13 Structures and Policies.       One commitment met these criteria at

11:12:59AM 14 the conclusion of MISEP 21, Support for Transitioning to

11:13:03AM 15 Adulthood which is 6.36.a.

11:13:17AM 16             THE COURT:    Ms. Crummy, I think you're muted.

11:13:18AM 17             MS. CRUMMY:     Sorry about that.     Good morning, Your

11:13:18AM 18 Honor.

11:13:21AM 19             In addition to the 13 areas where Michigan DHHS met

11:13:24AM 20 or exceeded the required performance standards in MISEP period

11:13:28AM 21 21, the State was within 10 percent of the performance standard

11:13:32AM 22 in 17 areas.     Of these 17 areas, the State was within 5 percent

11:13:37AM 23 of the performance standard in six areas, with performance at

11:13:42AM 24 or above 90 percent.      Examples include, 98.8 percent of

11:13:47AM 25 children in period 1 were placed in a licensed foster home, a



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9568 Filed 03/01/23 Page 5 of 28
                                                                                        5


11:13:51AM   1 licensed facility, pursuant to a court order or in an

11:13:55AM   2 unlicensed relative home pursuant to commitment 6.5.

11:14:00AM   3            93.6 percent had at least one visit per month with

11:14:05AM   4 their case worker that included a private meeting pursuant to

11:14:08AM   5 commitment 6.21.b, and 91.8 percent of foster care workers had

11:14:15AM   6 caseloads of no more than 15 children pursuant to commitment

11:14:22AM   7 6.14.

11:14:22AM   8            In total, Your Honor, DHHS exceeded, met or came

11:14:25AM   9 close to meeting the performance standards in 30 of 55 areas

11:14:30AM 10 monitored for period 21.

11:14:33AM 11             In the MISEP -- the MISEP includes other commitments,

11:14:35AM 12 however, that have not yet taken hold.          Maltreatment in care

11:14:40AM 13 investigations.     The monitoring team reviewed a sample of

11:14:43AM 14 unsubstantiated investigations into abuse and neglect of

11:14:48AM 15 children in the state's care from federal fiscal year 2021, the

11:14:53AM 16 period which is October 1st of 2020 to September 30th of '21,

11:14:58AM 17 and the team determined that 34, or 37 percent, of 92 randomly

11:15:05AM 18 selected investigations were deficient.          This includes nine

11:15:09AM 19 investigations the monitoring team determined met the criteria

11:15:13AM 20 for substantiation of child abuse and neglect and 25

11:15:17AM 21 investigations where there was insufficient information

11:15:20AM 22 gathered to render a finding.

11:15:23AM 23             DHHS reviewed the monitoring team's findings and

11:15:27AM 24 agreed that 29, or 31.5 percent, of the 92 investigations were

11:15:32AM 25 deficient.     Summaries of these cases will be filed under seal


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9569 Filed 03/01/23 Page 6 of 28
                                                                                        6


11:15:37AM   1 with the Court.

11:15:38AM   2            In addition, for the past year, the monitoring team

11:15:41AM   3 has been reviewing a more recent sample of completed abuse and

11:15:45AM   4 neglect investigations from October 1st of 2021 through

11:15:50AM   5 September 30th, 2022, and we have been meeting with DHHS

11:15:55AM   6 leadership regularly to discuss many of these investigations.

11:15:59AM   7 We expect to file with the Court in March our findings from

11:16:03AM   8 this more recent review of cases.

11:16:06AM   9            In addition to Child Safety and Commitment, 6.1, the

11:16:09AM 10 State did not meet or nearly meet the performance standards for

11:16:13AM 11 24 other commitments, including 6.8 and 6.9, the length of time

11:16:19AM 12 children spend in emergency and temporary facilities and the

11:16:23AM 13 number of times they did so; ensuring periodic and ongoing

11:16:28AM 14 medical, dental and mental health examinations and screening

11:16:32AM 15 pursuant to commitment 6.29; securing informed consent for the

11:16:38AM 16 administration of psychotropic medication to children in

11:16:42AM 17 commitment 6.33; and the documentation and oversight of

11:16:46AM 18 psychotropic medication to children in commitment 6.34.

11:16:51AM 19             And the State did not achieve its commitment on the

11:16:53AM 20 last remaining permanency commitment in the MISEP, permanency

11:16:58AM 21 indicator one, commitment 6.3, which measures the percent of

11:17:02AM 22 children who went to foster care within a 12-month period who

11:17:06AM 23 were discharged to permanency within 12 months of their entry

11:17:11AM 24 date.

11:17:12AM 25             Based on the dates file -- files provided by DHHS,


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9570 Filed 03/01/23 Page 7 of 28
                                                                                        7


11:17:17AM   1 the monitoring team calculated that of the 5,483 children who

11:17:21AM   2 entered foster care between October 1st, 2018 and

11:17:26AM   3 September 30th, 2019, 1,501 children, or 27.4 percent, exited

11:17:35AM   4 to permanency within 12 months of their entry.          DHHS did not

11:17:40AM   5 meet the MISEP standard of 40.5 percent for this commitment.

11:17:45AM   6 To meet the performance standard agreed upon by the parties,

11:17:50AM   7 DHHS should have achieved permanency for an additional 720

11:17:55AM   8 children.

11:17:55AM   9             In sum, Your Honor, the State has made significant

11:17:58AM 10 progress in 30 of 55 areas monitored in period 21, and

11:18:03AM 11 significant work remains in 25 areas.         There is no question

11:18:07AM 12 that progress has been made in this case and with continued

11:18:11AM 13 leadership, investment and focus, we hope the State will

11:18:15AM 14 continue to do so for children in the State's care.

11:18:18AM 15              Thank you, Your Honor.

11:18:21AM 16              THE COURT:   Thank you Ms. Crummy, Mr. Ryan.        As

11:18:24AM 17 usual, your oversight and your report are extremely valuable to

11:18:31AM 18 me, and I appreciate all that you've been doing to move this

11:18:37AM 19 whole program forward.

11:18:41AM 20              And I would be happy to hear now from the State and

11:18:45AM 21 then from the plaintiffs.

11:18:53AM 22              MS. DRYSDALE-CROWN:     Thank you, Your Honor.

11:18:54AM 23              On the behalf of the State, I would like to introduce

11:18:58AM 24 Michigan Department of Health and Human Services Director

11:19:01AM 25 Elizabeth Hertel.      She will speak first to this Court, and then


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9571 Filed 03/01/23 Page 8 of 28
                                                                                         8


11:19:05AM   1 second we'll have Children's Services Agency Executive

11:19:09AM   2 Demetrius Starling, and Children's Services Bureau Director

11:19:14AM   3 Kelly Sesti.

11:19:16AM   4            So today first you'll hear from Director Hertel.              She

11:19:19AM   5 will provide a general overview of the Department's continued

11:19:23AM   6 progress on the MISEP.      And then you will hear from Kelly Sesti

11:19:29AM   7 who will provide a PowerPoint presentation that will focus on

11:19:34AM   8 not only the progress made in the CAPs but also MISEP 21.            And

11:19:41AM   9 then you will hear from Director Starling who will provide an

11:19:47AM 10 overview of the efforts the Department is making in its

11:19:50AM 11 continued efforts to improve children's safety who are placed

11:19:53AM 12 in the care of Michigan.

11:19:56AM 13             Director Hertel, I turn it over to you.

11:20:00AM 14             DIRECTOR HERTEL:     Thank you, and thank you, Your

11:20:03AM 15 Honor, for this opportunity to continue to update the Court

11:20:05AM 16 with our ongoing efforts and strategies to ensure that children

11:20:09AM 17 placed in our care are safe and are achieving positive

11:20:13AM 18 outcomes.    I would also like to thank Children's Rights and the

11:20:17AM 19 Michigan monitoring team for their continued efforts to provide

11:20:19AM 20 technical assistance and to discuss items of interest for both

11:20:24AM 21 parties.

11:20:26AM 22             After the Correction Action Plans were approved by

11:20:29AM 23 this Court in April of 2022, we continue to have open lines of

11:20:33AM 24 communication with the court monitors as we effectively

11:20:37AM 25 implement some of the strategies identified in the Corrective



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9572 Filed 03/01/23 Page 9 of 28
                                                                                        9


11:20:40AM   1 Action Plans.    As of December 31st, 2022, the Department has

11:20:45AM   2 fully implemented 70 of the 72 Corrective Action Plan items,

11:20:49AM   3 while the final two are currently progressing toward full

11:20:54AM   4 implementation.

11:20:55AM   5            The MISEP reporting period currently before this

11:20:58AM   6 Court contains data collected from July 1st, 2021 through

11:21:02AM   7 December 31st, 2021.     Therefore, this data does not reflect our

11:21:06AM   8 current performance resulting from the CAP strategies benefits,

11:21:10AM   9 which are helping us improve on several fronts as we refine our

11:21:15AM 10 commitment to ensuring the safety of children placed in our

11:21:18AM 11 care.

11:21:19AM 12             One area that is especially noteworthy is the

11:21:21AM 13 Department's continued efforts to implement strategies to

11:21:25AM 14 increase placement array.       These efforts include Public Act 166

11:21:29AM 15 of 2022, which is our State's appropriations bill, which

11:21:33AM 16 included $15 million of one-time funding for child caring

11:21:37AM 17 institutions.     Additionally, a $10 million dollar legislative

11:21:42AM 18 transfer request made by the Department was approved for child

11:21:46AM 19 caring institutions.

11:21:47AM 20             The combined 25 million was issued as a lump sum

11:21:50AM 21 payment to those child caring institutions committed to

11:21:53AM 22 providing services in fiscal year '23.          Fiscal year '23 child

11:21:59AM 23 caring institutions rate increases are an average of 5 percent

11:22:02AM 24 for abuse and neglect programs, 12 percent for juvenile justice

11:22:06AM 25 programs and this is inclusive of a $2 per hour direct wage



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9573 Filed 03/01/23 Page 10 of 28
                                                                                         10


11:22:10AM   1 increase.

11:22:12AM   2             Fiscal year '23 increased rates for foster parents,

11:22:16AM   3 independent living providers, relatives and adoptive parents

11:22:20AM   4 and guardians by 20 percent, which we implemented on

11:22:23AM   5 October 1st of 2022, and I continue to personally review every

11:22:28AM   6 emergency shelter placement.

11:22:31AM   7             In our continuing efforts to monitor contract

11:22:33AM   8 oversight and improve the safety of children in our care, I

11:22:36AM   9 have implemented the MI Kids Now Executive Governance

11:22:40AM 10 Committee, which provides oversight of all decision making

11:22:43AM 11 related to contract action for congregate care facilities.                 We

11:22:47AM 12 also maintain our steadfast focus on ensuring the safety of all

11:22:52AM 13 youth receiving treatment in congregate care facilities through

11:22:54AM 14 intensive improvements in oversight of those facilities where

11:22:57AM 15 our children are placed, which Director Starling will address

11:23:01AM 16 further in this hearing.

11:23:05AM 17              Although we are experiencing the nationwide

11:23:06AM 18 phenomenon of increased demand for behavioral health services,

11:23:10AM 19 Michigan strives to lead the way in changing this in a number

11:23:13AM 20 of ways.     For example, we have implemented a student loan

11:23:17AM 21 repayment program to help address work force challenges in the

11:23:22AM 22 behavioral health field that lead to limited ability to serve

11:23:26AM 23 children.     So far the $2 million of educational debt

11:23:30AM 24 forgiveness has been awarded to Michigan clinicians providing

11:23:33AM 25 mental health services in eligible nonprofit practice sites or



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9574 Filed 03/01/23 Page 11 of 28
                                                                                         11


11:23:36AM   1 public school based systems, 74 percent of which are providers

11:23:41AM   2 in our community mental health service programs.

11:23:44AM   3             Additionally, Michigan recently implemented the first

11:23:48AM   4 cohort of grants to community mental health service providers

11:23:51AM   5 to implement innovative approaches to enhance intensive crisis

11:23:55AM   6 stabilization services for children and families, which

11:23:58AM   7 includes 24/7 availability of those services, statewide

11:24:02AM   8 coverage, access expectations and alignment to the State's

11:24:06AM   9 model with national best practice approaches.

11:24:10AM 10              Additionally, Michigan has expanded its intensive

11:24:12AM 11 community transition services benefit to assist with the

11:24:16AM 12 discharge process and to move children out of our Hawthorne

11:24:20AM 13 Center, which is Michigan's inpatient psychiatric hospital, and

11:24:24AM 14 into community-based settings.

11:24:26AM 15              These services are available to adults and children

11:24:29AM 16 who are ready to be discharged to a community based setting but

11:24:33AM 17 require more intensive care than those in a traditional

11:24:36AM 18 setting.     These services recognize the acute needs of patients

11:24:40AM 19 and create a supportive structure to ensure successful

11:24:44AM 20 transition to a traditional community placement and are funded

11:24:47AM 21 100 percent by State dollars.

11:24:50AM 22              We continue to move forward toward the development of

11:24:54AM 23 psychiatric residential treatment facilities, Medicaid benefit

11:24:58AM 24 that will serve as a step-up or a step-down setting for

11:25:01AM 25 children.     This facility -- these facilities will support a


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9575 Filed 03/01/23 Page 12 of 28
                                                                                         12


11:25:05AM   1 transition process for children to reenter the community for

11:25:08AM   2 many inpatient, public or private setting that is funded

11:25:11AM   3 through the Medicaid program.

11:25:15AM   4             The current year budget also includes $30.5 million

11:25:18AM   5 to support expanded access and capacity for behavioral health

11:25:22AM   6 services, and these funds support expansion of that intensive

11:25:26AM   7 community transition services for both adults and children.

11:25:30AM   8             The current year budget also includes $41 million to

11:25:34AM   9 support the expansion of two units at our Hawthorne Center for

11:25:36AM 10 children recognizing the needs of children in private hospital

11:25:40AM 11 settings that require an inpatient level of care.

11:25:44AM 12              These are some of the ways that we continue to expand

11:25:46AM 13 services for children and families in Michigan, and as I have

11:25:49AM 14 mentioned earlier, you have my full commitment to improve

11:25:53AM 15 safety and outcomes for children and families in Michigan.

11:25:57AM 16              I am exceedingly proud of the work that we do and the

11:26:01AM 17 improvements that we are making as we continue to work toward

11:26:03AM 18 excellence in our child welfare system.

11:26:06AM 19              I will now turn it over to Kelly Sesti, who does

11:26:09AM 20 maintain the coordination of reporting for the MISEP and the

11:26:11AM 21 implementation of our CAP strategies for the Department in her

11:26:16AM 22 new role as bureau administration director for children's

11:26:20AM 23 services to go over some of these things in more detail.

11:26:23AM 24              Thank you, Your Honor.

11:26:25AM 25              THE COURT:    Thank you, Director Hertel.


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9576 Filed 03/01/23 Page 13 of 28
                                                                                         13


11:26:28AM   1             Ms. Sesti.

11:26:29AM   2             DIRECTOR SESTI:     Thank you, Director Hertel, and good

11:26:34AM   3 morning, Your Honor.      I appreciate the opportunity to outline

11:26:34AM   4 some of our progress and updates since the last hearing.

11:26:37AM   5             Cass, are you able to share our PowerPoint?

11:26:41AM   6             MS. DRYSDALE-CROWN:     Yes, I am doing that now.

11:26:48AM   7             DIRECTOR SESTI:     Okay.   All right.    Perfect.    Thank

11:26:48AM   8 you, Cass.    Now if we could start with the data slides.

11:26:53AM   9             So we wanted to begin with sharing some data with all

11:26:57AM 10 of you, so this graph shows the number of children under the

11:27:00AM 11 Department's supervision as well as the children in out-of-home

11:27:04AM 12 care.    It also shows removals and exits from care for the past

11:27:10AM 13 year.

11:27:10AM 14              So as you can see, we've seen a steady decline in the

11:27:13AM 15 number of children under our supervision and in out-of-home

11:27:13AM 16 care.    We currently have approximately 10,000 children under

11:27:19AM 17 our supervision, and just under 9,400 children in out-of-home

11:27:22AM 18 care.    Our exits from care are outpacing our removals, which is

11:27:28AM 19 why we continue to see a decline in the number of children in

11:27:30AM 20 care.    This can also be attributed to our prevention work as

11:27:34AM 21 well as our focus on permanency.

11:27:39AM 22              In the next slide, this graph shows the total number

11:27:43AM 23 of children from both our foster care and our juvenile justice

11:27:46AM 24 programs who are placed for treatment in a congregate care

11:27:51AM 25 setting.     Specifically it covers the beginning of MISEP 21


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9577 Filed 03/01/23 Page 14 of 28
                                                                                         14


11:27:54AM   1 through the end of December 2022.        As you can see, we've

11:27:58AM   2 continued to see a steady decline.        As of December, we had only

11:28:02AM   3 364 foster youth receiving treatment in congregate care

11:28:07AM   4 settings.    The State continues to have a focus on keeping

11:28:09AM   5 children in their communities.

11:28:15AM   6             As I think we miss -- we have one more to update.

11:28:20AM   7 You want to go back one slide.

11:28:22AM   8             So this is an overlay of the last 12 months of data

11:28:25AM   9 for children in congregate care and out-of-home placements.

11:28:27AM 10 Both have continually shown a decrease.          I think it's important

11:28:31AM 11 to note that about 3.9 percent of the foster care population in

11:28:35AM 12 Michigan is receiving treatment in a congregate care setting

11:28:39AM 13 compared to the national average of 9 percent, and we received

11:28:42AM 14 that information from Casey Family Programs.           So Michigan is

11:28:48AM 15 well under the national average, and we continue to utilize

11:28:52AM 16 treatment in congregate care settings only when absolutely

11:28:55AM 17 necessary with a focus on strengthening our community

11:28:58AM 18 placements.

11:29:02AM 19              Next we'll move to permanency.       In regards to

11:29:07AM 20 permanency, we continue our quality improvement effort called

11:29:10AM 21 ChildStat.     We adopted this model because it is nationally

11:29:15AM 22 recognized and it has a continued focus on the achievement of

11:29:17AM 23 permanency in 12 months.        We have added an emphasis on service

11:29:21AM 24 delivery related to permanency.         Counties are identifying any

11:29:25AM 25 barriers, and we work as a team to find solutions.            We also


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9578 Filed 03/01/23 Page 15 of 28
                                                                                         15


11:29:28AM   1 identify best practices to share staff -- to share statewide,

11:29:32AM   2 excuse me, including staff retention strategies because we know

11:29:37AM   3 staffing changes negatively impact permanency.          We're also

11:29:41AM   4 developing supports for relatives to support placements and our

11:29:45AM   5 counties have begun meeting regularly with their court partners

11:29:49AM   6 to discuss permanency data.

11:29:53AM   7             As an update to the information we provided at the

11:29:55AM   8 last hearing, the Department and the State Court Administrative

11:29:59AM   9 Office are working with the University of Michigan to finalize

11:30:02AM 10 the data visualization tool for jurists to utilize across the

11:30:07AM 11 State.    The tool is a public-facing data dashboard to enable

11:30:11AM 12 the courts to have a centralized and accessible source of data

11:30:13AM 13 regarding children in foster care that are in their respective

11:30:16AM 14 counties.

11:30:17AM 15              U of M will have the tool developed by the end of

11:30:21AM 16 month.    Trainings are being planned for February and March and

11:30:23AM 17 will include all legal partners statewide as well as

11:30:27AM 18 caseworkers, both public and private.          The application is

11:30:31AM 19 interactive and will allow our legal partners to better track

11:30:34AM 20 data and measure outcomes related to permanency.

11:30:38AM 21              We've also implemented expedited permanency hearings

11:30:40AM 22 in Calhoun and Van Buren Counties.         Both programs have seen

11:30:44AM 23 success in moving to permanency more quickly, and we look

11:30:48AM 24 forward to sharing those best practices and information with

11:30:50AM 25 other courts cross Michigan.



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9579 Filed 03/01/23 Page 16 of 28
                                                                                         16


11:30:52AM   1             MDHHS is committed to improving well-being outcomes

11:31:00AM   2 for the children and families we serve.         We've added two new

11:31:03AM   3 contracts to expand resources for domestic violence services.

11:31:06AM   4 We've also implemented an enhanced treatment foster care pilot

11:31:11AM   5 which provides supports to caregivers given an evidence-based

11:31:15AM   6 model to maintain placements that are at risk for disruption.

11:31:18AM   7             The caregiver support is aimed to stabilize the

11:31:21AM   8 placement and ensure the child receives services to meet their

11:31:24AM   9 immediate needs.     The program responds to the family within 24

11:31:28AM 10 hours of referral.

11:31:34AM 11              And, lastly, I wanted to highlight a few of our

11:31:37AM 12 supports that we have put in place to promote placement

11:31:40AM 13 stability, especially for our kinship providers.            I will just

11:31:44AM 14 highlight a few of them listed here.

11:31:47AM 15              So we've developed the Kinship Advisory Council,

11:31:50AM 16 which is tasked with advocating for the needs of kinship

11:31:53AM 17 families.     The Council has quarterly meetings with two

11:31:56AM 18 subcommittees that meet monthly and focus on outreach and

11:32:00AM 19 engagement and services coordination and delivery.

11:32:04AM 20              We're also excited about our grow curriculum being

11:32:09AM 21 utilized for all new foster and adoptive parents and the

11:32:12AM 22 release of this computer-based training later this year.

11:32:16AM 23              As we mentioned at the last hearing, kinship parent

11:32:20AM 24 support workers have been hired throughout the State to provide

11:32:23AM 25 extra support for kinship caregivers, and we're especially



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9580 Filed 03/01/23 Page 17 of 28
                                                                                         17


11:32:27AM   1 excited that we also received funding for these workers to have

11:32:30AM   2 access to funds to provides concrete supports for the families

11:32:34AM   3 that they're working with.

11:32:36AM   4             And, lastly, I'll mention in Wayne, Oakland and

11:32:39AM   5 Macomb we are implementing the Core Teen pilot, which is aimed

11:32:43AM   6 at providing specialized training to foster parents on caring

11:32:47AM   7 for teens with the goal of expanding foster homes for older

11:32:51AM   8 youth.

11:32:55AM   9             Thank you, Your Honor, for the opportunity to

11:32:57AM 10 present, and I'm happy to answer any questions regarding any of

11:33:01AM 11 the slides, either now or after Director Starling presents some

11:33:05AM 12 additional information regarding our efforts to improve safety.

11:33:10AM 13              THE COURT:    Let's hear from Director Starling before

11:33:13AM 14 we start with questions.

11:33:14AM 15              DIRECTOR SESTI:     Okay.   Thank you.

11:33:17AM 16              DIRECTOR STARLING:     And thank you, Kelly.      Good

11:33:18AM 17 morning, Your Honor.

11:33:19AM 18              THE COURT:    Good morning.

11:33:19AM 19              DIRECTOR STARLING:     As you saw on Kelly's

11:33:21AM 20 presentation, MDHHS has implemented strategic efforts to

11:33:26AM 21 improve the safety children in our care, expand our resources

11:33:28AM 22 for our kin, and continues to decrease the number of children

11:33:32AM 23 in out-of-home care and those also in congregate care setting.

11:33:36AM 24 This is great work we believe, and we are very proud of our

11:33:39AM 25 progress thus far, but we know the safety of children placed in



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9581 Filed 03/01/23 Page 18 of 28
                                                                                         18


11:33:43AM   1 our care continues to be our priority.

11:33:47AM   2             I believe the strategies being implemented through

11:33:50AM   3 the Court's approved Correctional Action Plan and our joint

11:33:54AM   4 review process with the monitors to review maltreatment in care

11:33:58AM   5 cases will continue to help us to achieve compliance with the

11:34:02AM   6 MISEP commitments.

11:34:04AM   7             As mentioned at the last hearing, the Department

11:34:06AM   8 created the Division of Child Safety and Program Compliance to

11:34:10AM   9 provide some of the increased contract oversight for our

11:34:14AM 10 congregate care facilities and our private foster care

11:34:17AM 11 agencies.     Since our last status hearing, we have begun

11:34:21AM 12 implementing this new division and all contracted CCI and

11:34:25AM 13 foster care providers have been placed on an annual schedule

11:34:29AM 14 for contract evaluations.

11:34:32AM 15              The evaluations are data driven and maintain a

11:34:35AM 16 primary focus on child safety.         This new division facilitates

11:34:41AM 17 monthly meetings with both private agency, foster care

11:34:44AM 18 providers, and our residential providers to ensure an ongoing

11:34:48AM 19 partnership that is focused on improved child safety through

11:34:52AM 20 data analysis and shared best practices.

11:34:57AM 21              Providers are active participants in all of these

11:34:59AM 22 meetings.     This platform provides an opportunity for continuous

11:35:04AM 23 engagement and feedback between the Department and our private

11:35:08AM 24 agency partners specific to child safety and improved outcomes.

11:35:14AM 25              We also continue to work with the Building Bridges


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9582 Filed 03/01/23 Page 19 of 28
                                                                                         19


11:35:20AM   1 Initiative to maintain a keen focus on child safety programming

11:35:21AM   2 around areas such as reduction and elimination of restraints

11:35:26AM   3 and trauma informed care.

11:35:28AM   4             Your Honor, we know we need to continue to make

11:35:31AM   5 system-wide improvements to ensure child safety by preventing

11:35:36AM   6 maltreatment in care incidents.        Accordingly, we created a new

11:35:39AM   7 Maltreatment in Care Division within the Department.           This new

11:35:44AM   8 division reports directly to myself.         The goal is to improve

11:35:48AM   9 consistency in investigations, improve documentation, and

11:35:53AM 10 implement systemic changes to improve safety.

11:35:57AM 11              As I've mentioned, we have worked closely with the

11:36:01AM 12 monitors on the maltreatment in care case reviews and, as a

11:36:04AM 13 result, we have already begun to make improvements within our

11:36:07AM 14 systems.     These improvements include, but are not limited to,

11:36:11AM 15 increased requirements for medical examinations on cases,

11:36:16AM 16 increased child interviews at congregate care facilities,

11:36:21AM 17 requirements to interview teachers, development of a gun

11:36:26AM 18 protocol to offer guidance to our investigators, improved

11:36:32AM 19 documentation on unsubstantiated investigations, exploration of

11:36:37AM 20 funding for requiring cameras in all of our congregate care

11:36:41AM 21 settings, and also, as Kelly has indicated previously, we've

11:36:45AM 22 also developed many programs to support kin providers, which

11:36:49AM 23 improves safety and care per the reports provided to us by the

11:36:53AM 24 University of Michigan through our evaluation of our MIC

11:36:58AM 25 trends.



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9583 Filed 03/01/23 Page 20 of 28
                                                                                         20


11:36:58AM   1             We are especially excited about the development of

11:37:01AM   2 the kinship support specialists across the state, and we are

11:37:04AM   3 happy to continue to work with the monitors on refining our

11:37:07AM   4 practices and procedures.       We will continue to review our

11:37:12AM   5 maltreatment in care cases collectively with the monitoring

11:37:15AM   6 team, and we are confident that we will see improvement in

11:37:18AM   7 these cases based off of these efforts.

11:37:20AM   8             Again, Your Honor, I appreciate the time here being

11:37:24AM   9 able to go over some of our enhancements and some of our

11:37:28AM 10 transformative changes and I will defer to the group if they

11:37:31AM 11 have any questions or things that they want us to touch more

11:37:34AM 12 upon.    Thank you.

11:37:36AM 13              THE COURT:     Thank you, Director Starling.

11:37:39AM 14              Ms. Bartosz, I'll hear from you, and then we can have

11:37:42AM 15 our question session when everybody's done making their

11:37:47AM 16 presentation.

11:37:49AM 17              MS. BARTOSZ:    Thank you, Your Honor.      Good morning.

11:37:52AM 18 Nice to be before the Court again.

11:37:56AM 19              Your Honor, there are two, if you will, sets of

11:37:58AM 20 performance data I think we're looking at this morning.             One is

11:38:03AM 21 the validated performance reported by the monitors with respect

11:38:09AM 22 to MISEP period 21 and, secondly, is performance data with

11:38:16AM 23 respect to work by DHS in implementing the CAP that this Court

11:38:22AM 24 approved last April.

11:38:23AM 25              Your Honor, significantly, with respect to the MISEP


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9584 Filed 03/01/23 Page 21 of 28
                                                                                         21


11:38:25AM   1 report 21, as Ms. Crummy pointed out, there are 24 areas in

11:38:32AM   2 which the State has still not achieved even coming within

11:38:37AM   3 10 percent of the performance goal agreed to by the parties in

11:38:41AM   4 entering into the settlement.

11:38:44AM   5             In short, in a number of areas, significant work

11:38:49AM   6 remains to be done.      However, focusing really on the area of

11:38:56AM   7 safety to get an overall feel for where we're at, there's two

11:39:03AM   8 safety areas the monitors have reported with respect to in

11:39:07AM   9 MISEP 21 that are of grave concern, or great concern I'll say,

11:39:11AM 10 to plaintiffs here.

11:39:13AM 11              One is the issue of maltreatment in care, and, as

11:39:17AM 12 Ms. Crummy outlined for the Court, the monitors conducted a

11:39:20AM 13 review of 92 randomly selected cases from federal fiscal year

11:39:27AM 14 2021, and in that group determined that 37 percent of CPS

11:39:34AM 15 investigations with respect to maltreatment in care -- I should

11:39:37AM 16 say maltreatment in care investigations -- were deficient.

11:39:42AM 17              There should have been further investigation or the

11:39:45AM 18 agency should have actually substantiated an investigation that

11:39:50AM 19 are returned as unsubstantiated, and you've heard that DHS

11:39:54AM 20 itself, in reviewing these files with the monitors, have agreed

11:39:59AM 21 that 31 percent of that sample was, in fact, deficient.

11:40:04AM 22              That's incredibly concerning to the plaintiffs, Your

11:40:07AM 23 Honor, even this late into the implementation of the settlement

11:40:13AM 24 that literally one-third of cases going through maltreatment in

11:40:16AM 25 care investigations could, by the State's own admission, be



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9585 Filed 03/01/23 Page 22 of 28
                                                                                         22


11:40:22AM   1 falling short of sound practice.        So we think vital work

11:40:27AM   2 remains to be done in that area.

11:40:30AM   3             In the related area of contract oversight, DHS

11:40:34AM   4 assuring appropriate performance by its private providers, the

11:40:38AM   5 monitors have reported -- and I'll quote them -- that DHS's

11:40:43AM   6 contract evaluations, quote, "Continue to be inconsistent, at

11:40:47AM   7 times ineffective and in numerous instances did not ensure the

11:40:52AM   8 safety and well-being of the plaintiffs."          We're, likewise,

11:40:57AM   9 very concerned by this finding this long into the

11:41:03AM 10 implementation and believe it's vital that continuing efforts

11:41:07AM 11 be made.

11:41:08AM 12              Finally, with respect to the MISEP 21 report, I would

11:41:14AM 13 highlight the ways that -- the distance that still needs to be

11:41:17AM 14 closed on the permanency within 12 months outcome.            Children

11:41:21AM 15 were moved into the system, how quickly they can receive

11:41:27AM 16 placement, stable placements, once coming into foster care.

11:41:31AM 17 The performance there is quite short, and as Ms. Crummy pointed

11:41:35AM 18 out, the State literally needed to see 720 additional children

11:41:40AM 19 in placement in that 12-month period in order to meet the

11:41:44AM 20 performance goal in the settlement agreement, which happens to

11:41:48AM 21 be the federal child and families services review requirements

11:41:53AM 22 as well.

11:41:54AM 23              So there are big areas shown in MISEP 21 where work

11:41:59AM 24 must be done, but I will say on behalf of plaintiffs, there are

11:42:03AM 25 many areas of achievement as well, Judge, and we would be



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9586 Filed 03/01/23 Page 23 of 28
                                                                                         23


11:42:07AM   1 absolutely remiss not to congratulate the State on the work

11:42:12AM   2 done in those areas and to applaud those efforts.           That's the

11:42:16AM   3 reason we're here going through this very important process,

11:42:19AM   4 but, unfortunately, the accomplishments are accompanied by

11:42:24AM   5 areas where there continues to be rather substantial deficient

11:42:28AM   6 performance.

11:42:30AM   7             Your Honor, secondly, turning quickly to the area of

11:42:33AM   8 the CAP, plaintiffs are pleased to hear about the efforts being

11:42:41AM   9 made by DHS.    We listened very carefully to the presentations

11:42:45AM 10 Your Honor just heard from Ms. Sesti and Mr. Starling, and we

11:42:49AM 11 have no doubt that management is making efforts and focused

11:42:54AM 12 efforts to get after the performance areas that are covered by

11:42:58AM 13 the CAP.     We look forward to seeing validated data, Your Honor,

11:43:07AM 14 that would tell us how the CAP efforts translate into actual

11:43:13AM 15 performance on the performance metrics or outcomes defined in

11:43:18AM 16 the settlement agreement.

11:43:20AM 17              So while we're pleased to hear about the outcomes, we

11:43:24AM 18 want to see how that is actually making a difference.             We hope

11:43:28AM 19 it's making a significant difference.          We just haven't seen

11:43:32AM 20 data on that at this point.

11:43:33AM 21              So, Your Honor, in closing, I think we're at a place

11:43:37AM 22 in this settlement agreement implementation process where we

11:43:44AM 23 can all be pleased with progress that's been made in a variety

11:43:51AM 24 of areas, but I think it's time to still take a deep breath and

11:43:57AM 25 look at what remains to be done and come up with a focused



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9587 Filed 03/01/23 Page 24 of 28
                                                                                         24


11:44:03AM   1 energized effort to take the settlement agreement across the

11:44:08AM   2 goal line, and that may still take some time, Your Honor.

11:44:11AM   3 Thank you.

11:44:14AM   4             THE COURT:    Thank you, Ms. Bartosz.

11:44:16AM   5             I have to say, just as a preliminary matter, that I

11:44:20AM   6 am delighted with the progress that has been made since we

11:44:25AM   7 adopted the CAP last April.       I think the State has taken huge

11:44:30AM   8 steps under Director Hertel and congratulations are in order

11:44:38AM   9 for sure.

11:44:40AM 10              But I don't disagree with Ms. Bartosz.         There are

11:44:43AM 11 still a few areas that need to have additional work done.             The

11:44:50AM 12 maltreatment in care, the contract oversight and the permanency

11:44:57AM 13 issue all need additional care attention, and I think we can

11:45:05AM 14 all see that finish line ahead of us.          Whether it's two years

11:45:12AM 15 from now, two and a half years from now, it's hard for me to

11:45:16AM 16 say.    I'm not good at predicting the future, but I know that

11:45:23AM 17 the monitors have a suggested plan for moving forward, and I

11:45:29AM 18 would be happy to hear from Mr. Ryan or Ms. Crummy about what

11:45:34AM 19 their suggestion are.

11:45:35AM 20              MR. RYAN:    Sure, Your Honor.     So Eileen and I would

11:45:40AM 21 recommend that after we file with you under seal the findings

11:45:46AM 22 from our more recent maltreatment in care investigation case

11:45:51AM 23 record review, which we're still discussing with the State --

11:45:55AM 24 we expect that will be March -- that we would confer with you,

11:46:00AM 25 Your Honor.     And then with your guidance and support, we would


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9588 Filed 03/01/23 Page 25 of 28
                                                                                         25


11:46:07AM   1 convene the parties and would mediate a discussion between the

11:46:14AM   2 parties to winnow this agreement so that it focuses squarely on

11:46:19AM   3 the areas that are more than 10 percent off of the performance

11:46:24AM   4 standard and acknowledges the enormous progress that has been

11:46:30AM   5 made in other areas.

11:46:31AM   6             And that progress will be evident to the public in

11:46:35AM   7 our report, and is evident to the parties and to the Court now,

11:46:38AM   8 because at the back of our monitoring report we have color

11:46:43AM   9 coded the State's historic progress since adoption of the MISEP

11:46:48AM 10 indicating areas where the State continues to meet or exceed

11:46:53AM 11 the performance standard, where the State has come close to

11:46:57AM 12 meeting the performance standard, and areas where the State has

11:47:00AM 13 not nearly done so.

11:47:02AM 14              And we hope that that color coding can encourage the

11:47:08AM 15 parties to focus on the red areas and have an agreement that

11:47:13AM 16 really squarely focuses on getting the rest of these areas,

11:47:18AM 17 particularly those that affect children's permanency and

11:47:22AM 18 safety, over the finish line.

11:47:24AM 19              Eileen, do you have anything to add to that?

11:47:29AM 20              MS. CRUMMY:    No, Kevin.    I think that's exactly where

11:47:30AM 21 we're at and would recommend to Judge Edmunds and just to

11:47:38AM 22 underscore that we agree that there has been tremendous

11:47:42AM 23 progress made in this case, and the State, you know, should

11:47:44AM 24 take all due credit for that.

11:47:46AM 25              But, you know, as we reflect in this most recent


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9589 Filed 03/01/23 Page 26 of 28
                                                                                         26


11:47:48AM   1 report, there are areas that significantly impact child safety

11:47:53AM   2 and permanency that require focus and clarity and attention,

11:47:57AM   3 and we're happy to, with the Court's direction after we file

11:48:03AM   4 the March report, convene the parties if that's what the judge

11:48:07AM   5 would recommend.

11:48:12AM   6             THE COURT:     Sounds good to me, and I'm happy to

11:48:14AM   7 participate to any extent that you want me to in a March

11:48:21AM   8 meeting that charts the way forward.

11:48:27AM   9             So anyone else have any thoughts about the

11:48:33AM 10 suggestion?

11:48:36AM 11              MS. BARTOSZ:    Your Honor, this is Samantha Bartosz.

11:48:38AM 12 On behalf of the plaintiffs, we're, of course, most interested

11:48:42AM 13 in seeing the settlement agreement fully implemented and the

11:48:49AM 14 strategy that the monitors just outlined for the Court.             Sounds

11:48:54AM 15 like it could be a meaningful and productive move in that

11:48:58AM 16 direction, so plaintiffs are willing to very much take part in

11:49:04AM 17 those discussions and hopefully to arrive at a way to really

11:49:10AM 18 target our goal toward getting some of these safety and other

11:49:15AM 19 outcomes across the goal line.

11:49:20AM 20              MS. DRYSDALE-CROWN:     And, Your Honor, this is

11:49:20AM 21 Assistant Attorney General Cassandra Drysdale-Crown.            Again I

11:49:26AM 22 want to thank the monitors, Samantha, Your Honor, for

11:49:29AM 23 continuing to work with the Department in its goals.            Its

11:49:35AM 24 primary goal is children's safety, and it is committed to

11:49:38AM 25 working and maintaining excellence in providing safety to



                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9590 Filed 03/01/23 Page 27 of 28
                                                                                         27


11:49:44AM   1 children placed in its care.

11:49:47AM   2             We would be very excited to work with plaintiffs and

11:49:53AM   3 the monitors to narrow down the commitments to focus on

11:50:00AM   4 children's safety in some of the areas where the Department --

11:50:03AM   5 where the MISEP has shown that there's been some deficiency,

11:50:07AM   6 and I just wanted to stress for everyone again that MISEP 21

11:50:14AM   7 data was from 2021 and that the Department believes that Kevin

11:50:22AM   8 and Eileen, with the Court monitoring team, will be able to see

11:50:25AM   9 that tremendous progress has occurred since that time.

11:50:29AM 10              And, Samantha, I can appreciate your -- your

11:50:33AM 11 reluctance to click your heels to this right now, but hopefully

11:50:37AM 12 we'll see some demonstrable evidence and data and some tangible

11:50:43AM 13 anecdotal information that will come forth in that March

11:50:48AM 14 report.

11:50:48AM 15              So thank you very much, Your Honor, for your time and

11:50:51AM 16 we look forward to working with everyone to really narrow down

11:50:54AM 17 the focus and help us achieve the goals that this Court has set

11:51:02AM 18 before us.

11:51:04AM 19              THE COURT:    Good.   Anyone else?

11:51:10AM 20              All right.    Thank you all for participating, for the

11:51:14AM 21 PowerPoint, for the report, especially for the monitors and all

11:51:19AM 22 the hard work that the State has done and from the oversight

11:51:24AM 23 that the plaintiffs continue to provide.

11:51:28AM 24              And once we get the March report, we can find a date

11:51:33AM 25 to meet with or without me.        Thank you.


                        D.B. vs. Whitmer - Hearing - January 24, 2023
      Case 2:06-cv-13548-NGE-DAS ECF No. 339, PageID.9591 Filed 03/01/23 Page 28 of 28
                                                                                         28


11:51:42AM    1            MS. BARTOSZ:    Thank you, Your Honor.

11:51:43AM    2            MS. DRYSDALE-CROWN:     Thank you, Your Honor.

11:51:44AM    3            THE CLERK:     We're adjourned.

11:51:45AM    4            (At 11:51 a.m., court recessed.)

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             12                         C E R T I F I C A T E

             13      I certify that the foregoing is a correct transcript
                     from the proceedings in the above-entitled matter.
             14

             15

             16
                                           ________________________________
             17      Date: 2-28-2023       Carol M. Harrison, RMR, FCRR
                                           Official Court Reporter
             18                            United States District Court
                                           Eastern District of Michigan
             19                            1000 Washington Avenue
                                           Bay City, MI 48708
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                        D.B. vs. Whitmer - Hearing - January 24, 2023
